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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


United States of America,                                     Case No. 3:14CR403

               Plaintiff



               v.                                             ORDER


Susan Pioch, et al.,

               Defendant



       Defendant Pioch has filed a motion in limine to exclude testimony about statements Martin

Fewlas made to others (whom the government intends to call as witnesses) about Kurt Mallory’s

drug use and sales. (Doc. 186). The government’s opposition notes that it initially excluded such

statements from those it intends to offer from those witnesses. See Doc. 180.

       Also in response to the defendant’s motion, which she bases on Fed. R. Evid. 403, the

government now indicates that it may offer such statements, apparently in rebuttal, if the defendants

undertake to offer testimony or other evidence to contradict the inference that Fewlas would never

have left his estate to Kurt Mallory.

       For now, it does not appear necessary to rule on the defendant’s motion. Doing so depends

on what happens at trial. As the evidence unfolds, the defendant can renew her motion.
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       For me to do so most efficiently, it will be necessary that the government alert me and

counsel of its intent to offer Fewlas’s comments to the witnesses about Mallory’s drug use and

dealing.

       At that time, the government, to the extent that I permit, over the defendant’s Rule 43 or

other objections, such testimony, may renew its request for an appropriate cautionary instruction.

       For now, it is hereby

       ORDERED THAT the defendant’s motion to exclude drug-related statements attributed to

Martin Fewlas (Doc. 181) be, and the same hereby is denied, without prejudice to renew when and

if the government informs the undersigned and counsel of an intent to offer such statements.

       So ordered.



                                             /s/ James G. Carr
                                             Sr. U.S. District Judge
